                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE

In re:                                                       Chapter 11

FTX TRADING LTD., et al., 1                                  Case No. 22-11068 (JTD)

         Debtors.                                            (Jointly Administered)

                                                             Ref No. 2239



    ORDER AUTHORIZING AND APPROVING (I) GUIDELINES FOR THE SALE OR
    TRANSFER OF CERTAIN DIGITAL ASSETS, (II) THE SALE OR TRANSFER OF
     SUCH DIGITAL ASSETS IN ACCORDANCE WITH SUCH GUIDELINES FREE
     AND CLEAR OF ANY LIENS, CLAIMS, INTERESTS AND ENCUMBRANCES,
         (III) THE DEBTORS’ ENTRY INTO, AND PERFORMANCE UNDER,
       POSTPETITION HEDGING ARRANGEMENTS, INCLUDING GRANTING
       LIENS AND SUPERPRIORITY ADMINISTRATIVE EXPENSE CLAIMS IN
                CONNECTION THEREWITH AND (IV) THE DEBTORS
                      TO STAKE CERTAIN DIGITAL ASSETS

                      Upon the motion (the “Motion”) 2 of FTX Trading Ltd. and its affiliated debtors

and debtors-in-possession (collectively, the “Debtors”) for entry of an order (this “Order”)

authorizing and approving (i) guidelines for the sale or transfer of certain Digital Assets, (ii) the

sale or transfer of such Digital Assets in accordance with such guidelines free and clear of any

liens, claims, interests and encumbrances, (iii) the Debtors’ entry into, and performance under,

postpetition hedging arrangements, including granting liens and superpriority administrative

expense claims in connection therewith and (iv) the Debtors to stake certain Digital Assets; and

this Court having jurisdiction to consider the Motion pursuant to 28 U.S.C. §§ 157 and 1334 and



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    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete
    list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd
    is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
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    Capitalized terms not otherwise defined herein are to be given the meanings ascribed to them in the Motion.


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the Amended Standing Order of Reference from the United States District Court for the District

of Delaware, dated February 29, 2012; and this Court being able to issue a final order consistent

with Article III of the United States Constitution; and venue of these Chapter 11 Cases and the

Motion in this district being proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this matter

being a core proceeding pursuant to 28 U.S.C. § 157(b); and this Court having found that proper

and adequate notice of the Motion and the relief requested therein has been provided in

accordance with the Bankruptcy Rules and the Local Rules, and that, except as otherwise ordered

herein, no other or further notice is necessary; and objections (if any) to the Motion having been

withdrawn, resolved or overruled on the merits; and a hearing having been held to consider the

relief requested in the Motion and upon the record of the hearing and all of the proceedings had

before this Court; and this Court having found and determined that the relief set forth in this

Order is in the best interests of the Debtors and their estates; and that the legal and factual bases

set forth in the Motion establish just cause for the relief granted herein; and after due deliberation

and sufficient cause appearing therefor;

                      IT IS HEREBY ORDERED THAT:

                      1.   The Motion is GRANTED as and to the extent set forth herein.

                      2.   The Debtors are authorized, but not directed, to execute sales of, and

transactions in, the Digital Assets, in their reasonable business judgment: (a) executed through

an investment advisor or manager (the “Investment Adviser Sales”), pursuant to investment

guidelines (the “Investment Guidelines”) expressly set forth in any Investment Advisory

Agreement (as defined below) approved by an order of this Court, or (b) by further order of the

Court, upon notice and a hearing; provided that, in each case, such sales and transactions shall




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also comply with the following management and monetization guidelines (together with the

Investment Guidelines, the “Management and Monetization Guidelines”):

        A.            Investment Adviser Sales. With respect to all Investment Adviser Sales
                      (including any sales or transactions described in clauses A through E of paragraph
                      2 of this Order):

                      (a)    [RESERVED];

                      (b)    the Debtors are authorized to consummate Investment Adviser Sales
                             solely in accordance with an investment advisory agreement with an
                             investment advisor or manager that is approved by order of this Court
                             (each, an “Investment Advisory Agreement”) and, solely as contemplated
                             by any such Investment Advisory Agreement and subject to the express
                             terms thereof, are authorized to pay any applicable fees, commissions,
                             expenses and other trading costs without further order of the Court (and
                             for the avoidance of doubt, not pursuant to any other agreement or
                             otherwise unless approved by the Court);

                      (c)    during each week beginning on Saturday 12:00 A.M. (ET) through Friday
                             11:59 P.M. (ET) (a “Calendar Week”), subject to the express terms of an
                             Investment Advisory Agreement, the Debtors are authorized to sell Digital
                             Assets with the proceeds of liquidation not exceeding the Weekly Limit
                             (as defined below) for such Calendar Week; 3 and

                      (d)    the “Weekly Limit” shall be (i) $50 million for the week through Friday in
                             which this Order is entered and, solely to the extent that this Order is
                             entered on a Wednesday or later in the week, the following Calendar
                             Week, and (ii) $100 million for each subsequent Calendar Week; provided
                             that the Debtors (i) may temporarily increase the Weekly Limit for a
                             period of one Calendar Week at a time with the prior written approval of
                             the Committee and the Ad Hoc Committee without further order of the
                             Court; provided that the Debtors will provide notice of such temporary
                             increase to the U.S. Trustee; and (ii) may permanently increase the
                             Weekly Limit to $200 million upon further order of the Court. For the
                             avoidance of doubt, the Weekly Limit shall apply in the aggregate to sales
                             of Digital Assets whether executed by the Debtors and/or one or more
                             Investment Advisors, and shall not apply to derivatives transactions
                             referencing Digital Assets.


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    For the avoidance of doubt, for purposes of calculating the Weekly Limit the Debtors shall include all Digital
    Assets sold by the Debtors during the applicable time period, excluding Bitcoin and Ether; provided that the
    Weekly Limit shall not include (i) sales of stablecoins for fiat currency; (ii) redemption of stablecoins; and
    (iii) transactions of Digital Assets with the end-result of bridging such Digital Assets from non-native
    blockchains back to their respective native blockchains.

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        B.            Sales of Bitcoin, Ether and Certain Insider-Affiliated Tokens. In the event that
                      the Debtors determine, in their business judgment, to commence sales of Bitcoin,
                      Ether or certain insider-affiliated tokens, which must be done through an
                      Investment Manager, the Debtors shall provide ten business days’ prior written
                      notice to the Committee, the Ad Hoc Committee and the U.S. Trustee; provided
                      that such notice shall provide information reasonably necessary for the
                      Committee, the Ad Hoc Committee and the U.S. Trustee, in each case, on a
                      Professional Eyes only basis, to meaningfully assess the request, including the
                      proposed identity, quantum, price and reasonably detailed explanation for the
                      proposed sale of such Digital Assets; provided further that the Debtors shall also
                      provide the following information to members of the Committee and the Ad Hoc
                      Committee who are subject to confidentiality restrictions, in each case on a non-
                      Professional Eyes basis (x) for sales of Bitcoin or Ether: (i) type of token (i.e.
                      Bitcoin or Ether);
                      (ii) potential sales methods and (iii) the rationale for such sales and (y) for sales of
                      insider-affiliated tokens, (i) an indication that an insider-affiliated token will be
                      sold (without specifying the insider-affiliated token); (ii) potential sales methods
                      and (iii) the rationale for such sales; provided further that the Debtors shall not be
                      required to provide any such notices with respect to the sales or transfer of Bitcoin
                      or Ether solely to the extent any such sale or transfer is necessary to settle options
                      contracts entered into by the Investment Adviser pursuant to the Investment
                      Guidelines set forth in an Investment Advisory Agreement. If the Committee, the
                      Ad Hoc Committee or the U.S. Trustee objects to the Debtors’ proposed sales of
                      these Digital Assets, the following objection procedures shall apply:

                      (a)     if such objection includes any information contained in the Debtors’ notice
                              provided to the parties on a Professional Eyes Only basis, such objection
                              shall be filed under seal without further Court order; provided that a
                              redacted version of the sealed objection, which shall be publicly
                              accessible, shall be filed on the Court’s docket within three business days
                              after the filing of the objection under seal, and the rights of all parties-in-
                              interest are reserved with respect to the proposed redactions, including the
                              right to object to the scope of the redactions; and provided further that the
                              party filing the objection shall provide an unredacted copy to the U.S.
                              Trustee’s counsel pursuant to section 107(c)(3) of the Bankruptcy Code,
                              and section 107(c)(3)(B) shall be applicable to such unredacted objection;

                      (b)     the Committee, Ad Hoc Committee or U.S. Trustee’s objection must
                              (A) be in writing and state with specificity the basis for objecting and
                              (B) be filed with the Court within ten business days of the Debtors’ notice
                              and served on the Debtors’ Counsel; and

                      (c)     if the Committee, Ad Hoc Committee or U.S. Trustee files with the Court
                              and serves on counsel to the Debtors a written objection to the proposed
                              sales of any such Digital Assets, then such sales may only be executed
                              upon withdrawal of such objection or further order of the Court.

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        C.            Hedging Arrangements.

                      (a)     The Debtors are authorized to enter into calls and puts with respect to
                              underlying Eligible Hedging Digital Assets (as defined below) using a
                              Court-approved Investment Adviser, and are authorized to pay any
                              applicable fees, commissions, expenses and other trading costs without
                              further order of the Court, in each case, pursuant to the express terms of an
                              Investment Advisory Agreement, including the Investment Guidelines, as
                              modified by the Order Authorizing FTX Trading Ltd. to Enter Into, and
                              Perform Its Obligations Under, the Investment Services Agreement or any
                              other related order of the Court (collectively, the “Hedging
                              Arrangements”); and

                      (b)     “Eligible Hedging Digital Assets” means (i) Bitcoin and Ether and
                              (ii) with the prior written approval of the Committee and the Ad Hoc
                              Committee, any additional Digital Assets identified by the Debtors as
                              Eligible Hedging Digital Assets, provided that the Debtors shall file a
                              notice with the Court identifying such additional Eligible Hedging Digital
                              Assets.

        D.            Staking Method. With respect to any staking of Digital Assets, subject to the
                      Investment Guidelines, the Debtors and the Investment Adviser are authorized to
                      utilize staking options available through their qualified custodians using their
                      respective private validators if the Debtors determine in the reasonable exercise of
                      their business judgment that such activities are in the best interests of their estates.

        E.            General Provisions. With respect to any sales of, or transactions in, the Digital
                      Assets permitted hereunder:

                      (a)     Periodically, and as agreed in an Investment Advisory Agreement, but on
                              no less than a monthly basis, the Debtors deliver to the Consulting
                              Professionals, the Committee and the Ad Hoc Committee, reports required
                              to be delivered by an Investment Advisor to the Debtors pursuant to the
                              Investment Advisory Agreement, in each case, within the same time
                              periods required to be delivered to the Debtors thereunder, as well as
                              reports describing the following information (collectively, the
                              informational and reporting requirements set forth in this entire clause (E),
                              the “Reporting Requirements”):

                                    (i) a biweekly report of all known Debtor Digital Assets, in a
                                        format and including details similar to the those provided
                                        historically provided to the Committee on a biweekly basis,
                                        within 5 business days after the “as of” reporting date;

                                    (ii) Monthly reports from the Debtor’s qualified custodians
                                         (delivered concurrently upon receipt by the Debtors) detailing
                                         all staking activity, including at a minimum:

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                                           a. The coin or token
                                           b. Quantity
                                           c. Staking yields or rewards
                                 (iii) Additional written materials in connection with a Status Call (as
                                       defined below) if prepared and intended to be presented to the
                                       Debtors at such Status Call by the Investment Manager under
                                       any Investment Advisory Agreement to the UCC professionals
                                       on a Professional Eyes Only Basis in advance of such Status
                                       Call.

                      (b)   The Debtors shall be required to comply with such Reporting
                            Requirements and shall be required to provide the Committee and the Ad
                            Hoc Committee with periodic reporting in form and manner that is no less
                            than the reporting requirements set forth in paragraph 2(E)(a) of this Order
                            and the Investment Guidelines.
                      (c)   the Debtors will conduct, at a minimum, weekly status calls with the
                            Investment Adviser and the Consulting Professionals for the first six
                            weeks following the first completed Investment Advisor Sale, followed
                            by, at minimum, monthly status calls thereafter, to provide a general status
                            update with respect to the Debtors’ monetization and management efforts,
                            a summary of sales and transactions executed to date (including the
                            notional amounts of sales and transactions executed since the last meeting
                            and to date, the aggregate execution information as to the percentage of
                            TWP versus spot pricing for such sales), a discussion of market events
                            since the last meeting and any impacts to trading, and a discussion of
                            market outlook and trading environment (volumes/liquidity/etc.)) (each, a
                            “Status Call”);

                      (d)   in their Monthly Operating Reports and, prior to the filing of such
                            Monthly Operating Reports, their Interim Financial Updates, the Debtors
                            will disclose (i) the Digital Asses sold during the applicable period and
                            (ii) the amount of proceeds received in connection with sales of Digital
                            Assets during the applicable period; and

                      (e)   subject to the Management and Monetization Guidelines, any sales of or
                            transactions in Digital Assets shall be subject to the terms of such
                            customary documentation as the Debtors may execute in connection with
                            such transaction, which documentation may (but is not required to)
                            include provisions that the buyers are taking the Digital Assets “as is” and
                            “where is,” without any representations or warranties from the Debtors as
                            to the quality or fitness of such Digital Asset, and any such sales shall be
                            free and clear of all liens, claims, interests and encumbrances, with any
                            such liens, claims, interests and encumbrances attaching only to the sale
                            proceeds with the same validity, extent and priority as of immediately
                            prior to the Petition Date.
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                      3.   The Debtors’ Reporting Requirements shall terminate upon the

effectiveness of a chapter 11 plan.

                      4.   The Debtors shall not commence sales of FTT without seeking further

authorization from this Court.

                      5.   The requirements set forth in Bankruptcy Rules 2002 and 6004 and Local

Rules 2002-1 and 6004-1 are satisfied by the Motion, and the Debtors need not provide any

further notice prior to implementing any Digital Asset transaction, except to the extent set forth

in this Order and the Management and Monetization Guidelines.

                      6.   Notwithstanding anything contained herein to the contrary, the Debtors

shall not be authorized to engage in any sale of or transactions in Digital Assets (a) with an

“insider” of the Debtors (as such term is defined in section 101(31) of the Bankruptcy Code, and

which shall include any person employed by any Debtor with the title of Vice-President); (b)

with another Debtor; or (c) with any non-Debtor affiliate (as such term is defined in section

101(2) of the Bankruptcy Code).

                      7.   The absence of a timely objection to the Motion and the terms of this

Order shall constitute “consent” to such sale or transfer free and clear of Liens and Claims within

the meaning of section 363(f)(2) by any party asserting liens, claims, encumbrances against, and

other interests in, any Digital Assets.

                      8.   Pursuant to section 363(f) of the Bankruptcy Code, any sale of Digital

Assets in accordance with this Order shall be free and clear of any liens, claims, encumbrances

and interests, with any such liens, claims, encumbrances and interests to attach to the proceeds of

such sale with the same validity, priority, force and effect as such liens, claims, encumbrances

and interests had on the sold assets immediately prior to the Petition Date, subject to the rights,


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claims, defenses and obligations, if any, of the Debtors and all interested parties with respect to

any such asserted liens, claims, encumbrances and interests. For the avoidance of doubt, a smart

contract or legal contract “lock-up” of a token (including but not limited to a contractual

restriction on transferring such token) shall not constitute a “lien, claim, encumbrance or

interest” for any purpose of this Order, and nothing in this Order shall be construed as altering

any obligations of the Debtors or their representatives to comply with any such contractual lock-

ups in connection with any sale, transfer or other disposition of any Digital Assets.

                      9.    Pursuant to section 363 of the Bankruptcy Code, the Debtors are

authorized to stake certain of their Digital Assets in accordance with the terms hereof and the

Management and Monetization Guidelines.

                      10.   Pursuant to section 364(c) of the Bankruptcy Code, the Debtors are

authorized to grant superpriority administrative expense claims, grant liens and provide other

Credit Support under the Hedging Arrangements (i) solely to the extent that such Hedging

Arrangement consists of a call option sold by the Debtors and (ii) solely against the Eligible

Hedging Digital Asset underlying such call option. The holders of any superpriority

administrative expense claim, lien or other Credit Support provided under a call option shall not

have recourse against any of the Debtors’ assets other than the Eligible Hedging Digital Asset

underlying such call option.

                      11.   Notwithstanding anything to the contrary in the Motion or this Order,

nothing in the Motion or this Order constitutes a finding under the federal securities laws as to

whether digital assets or transactions involving digital assets are securities, and the right of the

United States Securities and Exchange Commission to challenge transactions involving digital

assets on any basis are expressly reserved.


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               12.       The requirements set forth in Bankruptcy Rule 6004(a) are satisfied.

               13.       This Order is immediately effective and enforceable, notwithstanding the

possible applicability of Bankruptcy Rule 6004(h) or otherwise.

               14.       The Debtors are authorized and empowered to execute and deliver such

documents and to take and perform all actions necessary to implement and effectuate the relief

granted in this Order.

               15.       To the extent there is any conflict between the Motion and this Order, this

Order shall govern. To the extent there is any conflict between the Management and

Monetization Guidelines and any Investment Advisory Agreement or any other document

entered into in connection with a sale of or transaction for Digital Assets, the Management and

Monetization Guidelines shall govern.

               16.       This Court shall retain jurisdiction with respect to any matters, claims,

rights or disputes arising from or related to the Motion or the implementation of this Order.




       Dated: September 13th, 2023                         JOHN T. DORSEY
       Wilmington, Delaware                                UNITED STATES BANKRUPTCY JUDGE


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